875 F.2d 317Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Garfield J. WYATT, Plaintiff-Appellant,v.B. Norris VASSAR, Clarence L. Jackson, Jr., George M.Hampton, Sr., Lewis W. Hurst, Morris L. Ridley,Frank E. Saunders, Defendants-Appellees.
    No. 89-7544.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 24, 1989.Decided May 2, 1989.
    
      Garfield J. Wyatt, appellant pro se.
      Before CHAPMAN, WILKINSON, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Garfield J. Wyatt appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that (this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Wyatt v. Vassar, C/A No. 89-102-R (W.D.Va. Feb. 1, 1989).  We dispense with oral argument because the dispositive issue recently has been decided authoritatively.
    
    
      2
      AFFIRMED.
    
    